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“2A0.245E — (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
Sheet |

UNITED STATES DISTRICT COURT

Eastern District of Michigan

AMENDED
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V. (For Organizational Defendants)
VOLKSWAGEN AG CASE NUMBER: 16-CR-20394-08

Reason for Amendment: To correct clerical error -
typographical error in nature of offense

THE DEFENDANT ORGANIZATION:
iw pleaded guilty to count(s) _1, 2 and 3 of the Third Superseding Information

Jason M. Weinstein and Christopher Niewoeher
Defendant Organization’s Attorney

 

C1 pleaded nolo contendere to count(s)
which was accepted by the court.

 

L] was found guilty on count(s)
after a plea of not guilty.

 

The organizational defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
418 U.S.C. 371 Conspiracy to Defraud the United States, to Commit Wire 9/2015 1
Fraud, and to Violate the Clean Air Act

18 U.S.C. 1512(c) Obstruction of Justice 9/2/2015 2
18 U.S.C. 542 Entry of Goods by False Statement 9/2/2015 3
The defendant organization is sentenced as provided in pages 2 through 3 of this judgment.

L] The defendant organization has been found not guilty on count(s)

 

L] Count(s) Cis Clare dismissed on the motion of the United States.

 

It is ordered that the defendant organization must notify the United States attorney for this district within 30 days of any change
of name, principal business address, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment
are fully paid. If ordered to pay restitution, the defendant organization must notify the court and United States attorney of material
changes in economic circumstances.

Defendant Organization’s
Federal Employer [.D. No... 22-1 585834 4/21/2017

Date of Imposition of Judgment

 

 

Defendant Organization’s Principal Business Address:

 

 

 

2200 Ferdinand Porsche Drive s/Sean F, Cox
Herndon, Virginia 20171 Signature of Judge
Defendant Organization’s Mailing Address: Sean F. Cox, U.S. District Judge
Name of Judge Title of Judge
8/2/2017

 

Date
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AO 245E = (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
Sheet 2 — Probation

_ 2 5
DEFENDANT ORGANIZATION: VOLKSWAGEN AG Judgment—Page __<__ of ___>_

CASE NUMBER: 16-CR-20394-08
PROBATION

The defendant organization is hereby sentenced to probation for a term of :
3 Years

The defendant organization shall not commit another federal, state or local crime.

. If this judgment imposes a fine or a restitution obligation, it is a condition of probation that the defendant organization pay
in accordance with the Schedule of Payments sheet of this judgment.

_. . The defendant organization must comply with the standard conditions that have been adopted by this court as well as with any
additional conditions on the attached page (if indicated below).

STANDARD CONDITIONS OF SUPERVISION

1) Within 30 days from the date of this judgment, the defendant organization shall designate an official of the organization to act
as the organization’s representative and to be the primary contact with the probation officer;

2) The defendant organization shall answer truthfully all inquiries by the probation officer and follow the instructions of the
probation officer;

3) The defendant organization shall submit a truthful and complete written monthly report within the first fifteen days of each
month;

4) The defendant organization shall notify the probation officer ten days prior to any change in principal business or mailing
address;

5) The defendant organization shall permit a probation officer to visit the organization at any time and visit any business sites;

6) The defendant organization shall notify the probation officer within seventy-two hours of any new criminal prosecution, major
civil litigation, or administrative proceedings against the organization;

7) The defendant organization shall not dissolve, change its name, or change the name under which it does business unless this
judgment and all criminal monetary penalties imposed by this court are either fully satisfied or are equally enforceable against
the defendant’s successors or assignees;

8) The defendant organization shall not waste, nor without permission of the Court, sell, assign, or transfer its assets unless this
judgment and all criminal monetary penalties imposed by this Court are fully satisfied.
 

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AO 245E — (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
Sheet 2A — Probation

DEFENDANT ORGANIZATION: VOLKSWAGEN AG Judgment—Page
CASE NUMBER: 16-CR-20394-08

 

ADDITIONAL PROBATION TERMS

The defendant organization shall abide by the standard conditions of supervision for organizational defendants adopted
by the United States District Court for the Eastern District of Michigan.

The United States Probation Department shall have available to it any reports prepared by the Independent Compliance
Monitor in order to monitor the defendant corporation's compliance with the terms and conditions of probation. Reports

prepared by the Independent Compliance Monitor shall be maintained by the United States Attorney's Office for review
by the probation department.
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AQ 245E, (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
Sheet 3 — Criminal Monetary Penalties

DEFENDANT ORGANIZATION: VOLKSWAGEN AG faap Nica Page,
CASE NUMBER: 16-CR-20394-08

CRIMINAL MONETARY PENALTIES

The defendant organization must pay the following total criminal monetary penalties under the schedule of payments on Sheet 4.

Assessment Fine Restitution
TOTALS $ 1,200.00 $ 2,800,000,000.00 $ 0.00
L] The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be

entered after such determination.

(J The defendant organization shall make restitution (including community restitution) to the following payees in the amount listed
below.

If the defendant organization makes a partial payment, each payee shall receive an sppronunaey prorcitiente payee unless specified
C. 2

otherwise in the priority order or percentage payment column below. However, pursuant to 18 U. § 3664(i), all nonfederal victims must
be paid before the United States is paid.
Name of Payee Total Loss* Restitution Ordered Priority or Percentag:

 

TOTALS $_ 0.00 $_0.00

C1 Restitution amount ordered pursuant to plea agreement $

(1 The defendant organization shall pay interest on restitution or a fine of more than $2,500, unless the restitution or fine is paid in full
before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 4 may
be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[J] The court determined that the defendant organization does not have the ability to pay interest, and it is ordered that:
C1) the interest requirement is waived forthe ©] fine (J restitution.

C1 the interest requirement for the Cl fine C] restitution is modified as follows:
q

* Findings for the total amount of losses are fganes under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 245E , (Rev. 12/03) Judgment in a Criminal Casc for Organizational Defendants
Sheet 4 — Schedule of Payments

DEFENDANT ORGANIZATION: VOLKSWAGEN AG
CASE NUMBER: 16-CR-20394-08

Judgment — Page 5 of 5

SCHEDULE OF PAYMENTS

Having assessed the organization’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A (© Lump sum payment of $ due immediately, balance due

C0 *#inot later than , or
CJ inaccordance with [J] Cor [ D below; or

B (O Payment to begin immediately (may be combined with []Cor (]D below); or

C () Payment in (e.g., equal, weekly, monthly, quarterly) installments of $ over a period of
{e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D ww Special instructions regarding the payment of criminal monetary penalties:

Special Assessment to be paid immediately. Fine must be paid within ten (10) days of entry of judgment.

All criminal monetary penalties are made to the clerk of the court.

The defendant organization shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

0 Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount, and
corresponding payee, if appropriate.

L] The defendant organization shall pay the cost of prosecution.

O

The defendant organization shall pay the following court cost(s):

The defendant organization shall forfeit the defendant organization’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
